--------------------------------------------------------------------------------

                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                                       
                                August 20, 2015
                                       


In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 20[th] day of August, 2015.

10-14-00090-CV	CITY OF DALLAS v. CITY OF CORSICANA, NAVARRO COUNTYAND NAVARRO COLLEGE - ON APPEAL FROM THE COUNTY COURT AT LAW OF NAVARRO COUNTY - TRIAL COURT NO. C13-22750-CV  -  AFFIRMED IN PART AND DISMISSED IN PART - Memorandum Opinion by Justice Davis:

This cause came on to be heard on the transcript of the record, and the same being considered, because it is the opinion of this Court that there was no error in the order of the court below denying Appellant the City of Dallas's plea to the jurisdiction; it is therefore ordered, adjudged, and decreed that the order of the court below be, and hereby is, affirmed in accordance with the opinion of this Court.  It is further ordered that Appellant the City of Dallas pay costs of appeal, and that this decision be certified below for observance.
